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 2   Paul A. HEMESATH
     Assistant U.S. Attorney
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 4   Telephone: (916) 554-2932
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 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )   Case No. 2:10-CR-00413-MCE
                                      )
12             Plaintiff,             )
                                      )   GOVERNMENT’S MOTION TO DISMISS THE
13        v.                          )   INDICTMENT AS TO DEFENDANT ARMANDO
                                      )   FLORES CAMPOS AND ORDER
14   ARMANDO FLORES CAMPOS,           )
                                      )
15                                    )
                                      )
16                                    )
17
          The United States of America, through its attorneys of record,
18
     Assistant U.S. Attorney Paul A. Hemesath, hereby moves for an order
19
     dismissing the indictment, specifically Count One, against defendant
20
     ARMANDO FLORES CAMPOS pursuant to Federal Rule of Criminal Procedure
21
     48(a).
22
          Background
23
          On September 23, 2010, a Sacramento federal Grand Jury returned
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     an indictment against defendant ARMANDO FLORES CAMPOS along with
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     three others in a case related to a conspiracy to distribute and to
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     possess with intent distribute methamphetamine in violation of 21
27
     U.S.C. § 841(a)(1) and 21 U.S.C. § 846 in Case No. 2:10-CR-00413-MCE.
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 1   Count One is the only count in the indictment with which ARMANDO
 2   FLORES CAMPOS is charged.     ARMANDO FLORES CAMPOS is currently
 3   incarcerated at the Sacramento County Jail pursuant to a detention
 4   order from this Court and is additionally subject to an ICE detainer.
 5         In June of 2011, the government obtained exculpatory information
 6   related to the case pending against ARMANDO FLORES CAMPOS.            This
 7   resulted in the government’s belief that insufficient evidence exists
 8   to sustain a conviction concerning defendant ARMANDO FLORES CAMPOS.
 9         Based on the above recently obtained exculpatory information,
10   the undersigned hereby moves to dismiss without prejudice Count One
11   against ARMANDO FLORES CAMPOS in Case No. 2:10-CR-00413-MCE in the
12   interests of justice pursuant to Rule 48(a).
13
14                                        Respectfully Submitted,
15                                        BENJAMIN B. WAGNER
                                          Acting United States Attorney
16
17   DATED:   June 22, 2011            By:/s/ Paul A. Hemesath
                                          PAUL A. HEMESATH
18                                        Assistant U.S. Attorney
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          Case 2:10-cr-00413-MCE Document 36 Filed 06/22/11 Page 3 of 3


 1                                      ORDER
 2        For the reasons set forth in the motion to dismiss filed by the
 3   United States, IT IS HEREBY ORDERED that Count One of the Indictment
 4   in Case No. 2:10-CR-00413-MCE as to defendant ARMANDO FLORES CAMPOS
 5   is hereby DISMISSED pursuant to Federal Rule of Criminal Procedure
 6   48(a) without prejudice.
 7        IT IS SO ORDERED.
 8
     Dated: June 22, 2011
 9
10                                      _____________________________
                                        MORRISON C. ENGLAND, JR.
11
                                        UNITED STATES DISTRICT JUDGE
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